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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


 ASTRAZENECA PHARMACEUTICALS
 LP and ASTRAZENECA AB,

                   Plaintiffs,

                       v.
 XAVIER BECERRA, in his official capacity               Civ. No. 23-931-CFC
 as SECRETARY OF HEALTH AND
 HUMAN SEVICES,

                      and

CHIQUITA BROOKS-LASURE, in her
official capacity as ADMINISTRATOR OF
THE CENTERS FOR MEDICARE &
MEDICAID SERVICES,

                  Defendants.


                                      ORDER

      Although Defendants do not challenge Plaintiffs' standing to pursue Count

III, "federal courts have an obligation to assure [them]selves of litigants' standing

under Article III." Wayne Land & Min. Grp., LLCv. Delaware River Basin

Comm'n, 959 F.3d 569,574 (3d Cir. 2020) (citation and internal quotation marks

omitted). Accordingly, it is HEREBY ORDERED that no later than February 12,

2024, each side shall file supplemental briefing, not to exceed 2,000 words,
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addressing whether Plaintiffs have standing to assert Count III.



                                                                   EF JUDGE




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